Case 2:18-cv-01592-DMG-RAO Document 1 Filed 02/27/18 Page 1 of 7 Page ID #:1



     Kerry K. Fennelly (SBN 232621)
 1
     kfennelly@donaldsonandcornwell.com
 2   Valentina S. Mindirgasova (SBN 272746)
     vmindirgasova@donaldsonandcornwell.com
 3
     Cornwell & Baldwin
 4   1017 East Grand Avenue
     Escondido, CA 92025
 5
     (760) 747-1100 tel
 6   (760) 747-1188 fax
 7
     Attorneys for Plaintiffs,
 8   GCIU-Employer Retirement Fund and
     Board of Trustees of the
 9
     GCIU-Employer Retirement Fund
10
                      UNITED STATES DISTRICT COURT
11
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
12
     GCIU-EMPLOYER RETIREMENT       )              CASE NO. 2:18-CV-01592
13
     FUND AND BOARD OF TRUSTEES     )
14   OF THE GCIU-EMPLOYER           )              COMPLAINT
15
     RETIREMENT FUND,               )
                                    )              (1) Collection of Withdrawal Liability
16               Plaintiffs,        )                  pursuant to ERISA § 4221(b)(1) (29
17
           v.                       )                  U.S.C. § 1401(b)(1)); and
                                    )              (2) Payroll Audit Liability - Collection
18   PROFESSIONAL PRINTERS, INC., a )                  of Audit Costs pursuant to ERISA §
19
     Colorado corporation,          )                  502(a)(3) (29 U.S.C. § 1132(a)(3))
                                    )
20               Defendant.         )
21                                  )
                                    )
22                                  )
23

24
                                      COMPLAINT
25
           Plaintiffs, GCIU-Employer Retirement Fund (“Plaintiff Fund”) and Board of
26
     Trustees of the GCIU-Employer Retirement Fund (“Board of Trustees”), for causes of
27
     action against Defendant Professional Printers, Inc., allege as follows:
28
                                               1
                                          -1-
                                        COMPLAINT
Case 2:18-cv-01592-DMG-RAO Document 1 Filed 02/27/18 Page 2 of 7 Page ID #:2




 1                               JURISDICTION AND VENUE
 2   1.    This is an action for collection of withdrawal liability, interest, and attorneys’
 3   fees incurred by an employer as a result of a withdrawal from a multiemployer pension
 4   plan which action arises under the Employee Retirement Income Security Act of 1974
 5   (“ERISA”), as amended by the Multiemployer Pension Plan Amendments Act of 1980,
 6   29 U.S.C. § 1001 et seq.
 7   2.    This is also an action to recover the costs of a previously conducted audit
 8   pursuant to Section 502(a)(3) of ERISA, 29 U.S.C. §§1132(a)(3).
 9   3.    This court has jurisdiction over this action under §§ 502(e), 502(f), and 4301(c)
10   of ERISA, 29 U.S.C. §§ 1132(e), 1132(f), and 1451(c).
11   4.    Venue lies in this Court under §§ 502(e)(2) and 4301(d) of ERISA, 29 U.S.C. §§
12   1132(e)(2) and 1451(d), in that the Plaintiff Fund is administered at its principal place
13   of business in Los Angeles, California.
14                                           PARTIES
15   5.    Plaintiff Fund is a multiemployer pension plan within the meaning of §§ 3(37)
16   and 4001(a)(3) of ERISA, 29 U.S.C. §§ 1002(37) and 1301(a)(3).
17   6.    Plaintiff Board of Trustees is comprised of the present trustees who are the
18   named fiduciaries of the Fund within the meaning of § 402(a) of ERISA, 29 U.S.C. §
19   1102(a), and is the plan sponsor of the Fund within the meaning of §§ 3(16)(B)(iii) and
20   4001(a)(10) of ERISA, 29 U.S.C. §§ 1002(16)(B)(iii) and 1301(a)(10). The Board of
21   Trustees administers the Plaintiff Fund at 1200 Wilshire Blvd, 5th Floor, Los Angeles,
22   CA 90017-1906.
23   7.    Pursuant to §§ 502(a)(3) and 4301(a)(1) of ERISA, 29 U.S.C. §§ 1132(a)(3) and
24   1451(a)(1), the Board of Trustees is authorized, as a named fiduciary, to bring this
25   action on behalf of the Fund, its participants and beneficiaries.
26   8.    The Plaintiff Fund is also authorized to bring this action in its own name
27   pursuant to a provision contained within Article VIII, Section 18 of the Fund’s Trust
28
                                                2
                                           -2-
                                         COMPLAINT
Case 2:18-cv-01592-DMG-RAO Document 1 Filed 02/27/18 Page 3 of 7 Page ID #:3




 1   Agreement, which permits all legal actions to be prosecuted in the name of the Fund. A
 2   true and correct copy of the Fund’s Trust Agreement is attached hereto as Exhibit 1.
 3   9.    Defendant Professional Printers, Inc., (“Professional Printers”) is a dissolved
 4   corporation organized under the laws of the State of Colorado.
 5   10.   At all times relevant to this action, Defendant was an “employer” as the term is
 6   defined by § 3(5) of ERISA, 29 U.S.C. § 1002(5), and was engaged in an industry
 7   affecting commerce, as defined by § 301(a) of the Labor-Management Relations Act,
 8   29 U.S.C. § 185(a).
 9                               FIRST CAUSE OF ACTION
10                  (Default on Payment Obligation for Withdrawal Liability)
11   11.   Plaintiffs hereby reallege and incorporate each and every allegation made in
12   paragraphs 1 through 10 of this Complaint as though fully set forth herein.
13   12.   During all relevant times, Professional Printers was a signatory to a Collective
14   Bargaining Agreement with the Teamsters District Council No. 2, Local 625-S (“Local
15   Union”), under which it was required to make contributions to the Plaintiff Fund on
16   behalf of its covered employees. A true and correct copy of the most recent Collective
17   Bargaining Agreement is attached hereto as Exhibit 2.
18   13.   Defendant’s obligation to contribute to the Plaintiff Fund ceased in 2012 because
19   Defendant completely withdrew from participation in the Plaintiff Fund.
20   14.   Defendant also experience a partial withdrawal from the Plaintiff Fund due to a
21   70-percent contribution decline that was triggered in 2011 pursuant to Section
22   4205(a)(1) of ERISA, 29 U.S.C. § 1385(a)(1).
23   15.   As a result of the foregoing, Plaintiffs provided Professional Printers with a
24   Notice of Partial and Complete Withdrawal Liability and Demand for Payment
25   (“Notice and Demand”) dated May 18, 2017, pursuant to §§ 4202(2) and 4219(b)(1) of
26   ERISA, 29 U.S.C. §§ 1382(2) and 1399(b)(1).
27   16.   In accordance with ERISA and the Fund’s Withdrawal Liability Procedures, the
28   Fund’s actuary determined that the partial withdrawal liability attributable to Defendant
                                              3
                                         -3-
                                       COMPLAINT
Case 2:18-cv-01592-DMG-RAO Document 1 Filed 02/27/18 Page 4 of 7 Page ID #:4




 1   was $114,992 and that the complete withdrawal liability attributable to Defendant was
 2   $116,352.
 3   17.   The Notice and Demand included a detailed calculation of how the amounts of
 4   the partial and complete withdrawal liability assessments were calculated by the
 5   actuary, and provided Professional Printers with a payment schedule for the two
 6   assessments in accordance with the requirements of § 4219(c) of ERISA, 29 U.S.C. §
 7   1399(c). A true and correct copy of the Notice and Demand with the detailed
 8   calculations is attached hereto as Exhibit 3.
 9   18.   Defendant failed to make payments pursuant to the two payment schedules as
10   required under § 4219(c)(2) of ERISA, 29 U.S.C. § 1399(c)(2).
11   19.   On August 2, 2017, Plaintiffs provided via certified mail a Notice of Failure to
12   Pay Withdrawal Liability and Demand for Cure (“Demand for Cure”) to Defendant in
13   accordance with § 4219(c)(5) of ERISA, 29 U.S.C § 1399(c)(5), informing Defendant
14   that it had sixty (60) days to cure the delinquencies prior to the determination of a
15   default within the meaning of § 4219(c)(5) of ERISA, 29 U.S.C. § 1399(c)(5). A true
16   and correct copy of the Demand for Cure is attached hereto as Exhibit 4.
17   20.   Defendant did not exercise its rights under ERISA Section 4219(b)(2)(A), 29
18   U.S.C. § 1399(b)(2)(A), to ask Plaintiffs to review the assessments, to identify any
19   inaccuracies in the determination of the amount of the assessments, or to furnish any
20   additional information to the Plaintiffs.
21   21.   Defendant did not initiate arbitration pursuant to § 4221(a)(1) of ERISA, 29
22   U.S.C. § 1401(a)(1) and the time to initiate arbitration has expired. Consequently, the
23   amounts demanded by Plaintiffs are due and owing pursuant to § 4221(b)(1) of ERISA,
24   29 U.S.C. § 1401(b)(1).
25   22.    Defendant failed to cure the required withdrawal liability payments pursuant to
26   the Demand for Cure and thus is in default within the meaning of § 4219(c)(5) of
27   ERISA, 29 U.S.C. § 1399(c)(5). Accordingly, the entire amount of its withdrawal
28   liability assessments is due and owing.
                                                 4
                                           -4-
                                         COMPLAINT
Case 2:18-cv-01592-DMG-RAO Document 1 Filed 02/27/18 Page 5 of 7 Page ID #:5




 1   23.    The total owed on both withdrawal liability assessments is $231,344.
 2   24.    The failure to pay its withdrawal liability subjects an employer to interest,
 3   attorney’s fees and costs.
 4   25.    By reason of the foregoing, Defendant is indebted to Plaintiffs in the sum of
 5   $231,344, plus interest, attorneys’ fees, and costs.
 6                                SECOND CAUSE OF ACTION
 7                                        (Payroll Audit Liability)
 8   26.    Plaintiffs hereby reallege and incorporate each and every allegation made in
 9   paragraphs 1 through 25 of this Complaint as though fully set forth herein.
10   27.    As a signatory to the Collective Bargaining Agreement with the Local Union and
11   a contributing employer to the Plaintiff Fund, Defendant is also bound by the terms and
12   conditions, rules and regulations of the Plaintiff Fund’s Trust Agreement.
13   28.    Under Article IX, Section 2 and 3 of the Trust Agreement governing the Plaintiff
14   Fund, Defendant is contractually liable to timely report on a monthly basis the hours
15   worked by all of its employees performing bargaining unit work and to pay
16   contributions to the Plaintiff Fund accordingly.
17   29.    Under Article IX, Section 5 of the Plaintiff Fund’s Trust Agreement, Defendant
18   is also required to permit the Plaintiff Fund to review its books and records to confirm
19   that monthly contributions are being made in accordance with the terms of the
20   Collective Bargaining Agreement.
21   30.    Article IX, Section 5 of the Plaintiff Fund’s Trust Agreement further provides
22   that in the event an audit of a participating employer discloses that the participating
23   employer has not paid the required contributions, the participating employer shall be
24   liable for the costs of the audit.
25   31.    At all relevant times, Defendant employed employees for whom employee
26   contributions were due under the Collective Bargaining Agreement.
27   32.    A routine audit of Defendant’s books and records was performed by the Plaintiff
28   Fund covering the period of January 1, 2008 through August 31, 2012.
                                                   5
                                              -5-
                                            COMPLAINT
Case 2:18-cv-01592-DMG-RAO Document 1 Filed 02/27/18 Page 6 of 7 Page ID #:6




 1   33.   The payroll audit revealed that Defendant failed to properly make monthly
 2   contributions in accordance with the terms of its Collective Bargaining Agreement.
 3   34.   Defendant owed $491.564 in contributions to the Plaintiff Fund, $266.71 in
 4   interest, and $3,386.85 in audit costs, (collectively referred to as “Payroll Audit
 5   Liability”).
 6   35.   Defendant had a credit with Plaintiff Fund of $2,043.80 resulting from
 7   overpayments of contributions.
 8   36.   The credit of $2,043.80 was applied to Defendant’s Payroll Audit Liability, and a
 9   balance of $2,101.32 remained.
10   37.   Defendant has not paid the remainer of its Payroll Audit Liability and has thus
11   breached Plaintiffs’ Trust Agreement.
12         WHEREFORE, Plaintiffs request the following relief:
13         (a) On Plaintiffs’ First Cause of Action, a judgment against Defendant, and on
14   behalf of Plaintiffs, pursuant to § 4301(b) of ERISA, 29 U.S.C. § 1451(b), for:
15                  (i)     The past due withdrawal liability payments of $231,344;
16                  (ii)    Interest at the prevailing market rate pursuant to § 4219(c)(6) of
17                          ERISA, 29 U.S.C. § 1399(c)(6), on the total amount of unpaid
18                          withdrawal liability due and owing from July 17, 2017 until paid;
19                  (iii)   Plaintiffs’ reasonable attorneys’ fees and costs of the action; and
20                  (iv)    Such other legal and equitable relief as the Court deems appropriate.
21         (b) On Plaintiffs’ Second Cause of Action, judgment against the Defendant, and
22   on behalf of Plaintiffs for:
23                  (i)     Unpaid Payroll Audit Liability for the audit period of January 1,
24                          2008 through August 31, 2012;
25                  (ii)    Plaintiffs’ reasonable attorneys’ fees and costs of the action; and
26                  (iii)   Such other legal and equitable relief as the Court deems appropriate.
27

28
                                                   6
                                             -6-
                                           COMPLAINT
Case 2:18-cv-01592-DMG-RAO Document 1 Filed 02/27/18 Page 7 of 7 Page ID #:7




 1   Dated: February 27, 2018         /s/ Valentina S. Mindirgasova
                                     Kerry K. Fennelly
 2                                   Valentina S. Mindirgasova
                                     Cornwell & Baldwin
 3                                   1017 East Grand Avenue
                                     Escondido, CA 92025
 4                                   (760) 747-1100
                                     (760) 747-1188
 5                                   kfennelly@donaldsonandcornwell.com
                                     vmindirgasova@donaldsonandcornwell.com
 6
                                     Attorneys for Plaintiffs
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                        7
                                    -7-
                                  COMPLAINT
